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                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                          :
Tammy Lockett, as Beneficiary and         :
Personal Representative of the Estate     :
Of Donald Raymond, Sr.,                   :
                                          :
       Plaintiff,                         :                  Civil Action No. 2:24-cv-05876
                                          :
              v.                          :
                                          :
                                          :
E.I. du Pont de Nemours and Company,      :
BASF Corporation, The Sherwin-Williams    :
Company, PPG Industries, Inc., Energy     :
Transfer (R&M), LLC, Ashland, LLC,        :
Univar Solutions USA, Inc., Union Oil     :
Company of California d/b/a Unocal,       :
individually as Successor-an-Interest     :
to American Mineral Spirits Company,      :
Shell Oil Company, Atlantic Richfield     :
Company and John Does 1-20,               :
                                          :
       Defendants.                        :
_________________________________________ :

                        STATEMENT IN SUPPORT OF REMAND

       Pursuant to this Court’s November 25, 2024 Order (ECF 28), Defendant BASF

Corporation and Plaintiff Tammy Lockett, as Beneficiary and Personal Representative of the

Estate of Donald Raymond, Sr. (“Plaintiff”, collectively the “Parties”) hereby submit this

statement identifying the state of citizenship of the non-diverse party in connection with the

Parties’ Stipulated Motion to Remand (ECF 26). The Parties hereby state as follows:

       (1)    Plaintiff is and was a citizen of the State of Louisiana at the time this lawsuit was

              filed.

       (2)    Energy Transfer (R&M), LLC is, and at the time this lawsuit was filed was, a citizen

              of the State of Louisiana for the purposes of diversity of citizenship because at least
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            one of its owners, Energy Transfer LP, was a citizen of the State of Louisiana at

            that time. See also, GBForefront, L.P. v. Forefront Mgmt. Grp., LLC, 888 F.3d 29,

            36 (3d Cir. 2018) (“[T]he citizenship of unincorporated associations must be traced

            through however many layers of partners or members there may be.”)


     (3)    Energy Transfer LP is, and at the time this lawsuit was filed was, a parent and

            member of Defendant Energy Transfer (R&M), LLC. Energy Transfer LP is, and

            at the time this lawsuit was filed was, a Delaware limited partnership with certain

            members who are citizens of the State of Louisiana. Energy Transfer LP is

            therefore a citizen of the State of Louisiana for the purposes of diversity of

            citizenship. See Americold Realty Trust v. ConAgra Foods, Inc., 136 S. Ct. 1012,

            1016-17 (2016).




Dated: November 27, 2024                          Respectfully submitted,

                                                  /s/ Joshua M. Peles
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                                                  Corporation


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                                    Attorneys for Plaintiff




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                               CERTIFICATE OF SERVICE


       I hereby certify that on November 27, 2024, I caused a true and correct copy of the

foregoing Statement in Support of Remand to be filed and served upon all counsel of record via

the electronic court filing (ECF) system for the U.S. District Court for the Eastern District of

Pennsylvania and is available for viewing and downloading.


                                                    /s/ Joshua M. Peles
                                                    Joshua M. Peles




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